   Case: 1:19-cv-00743 Document #: 211 Filed: 09/27/22 Page 1 of 2 PageID #:3253




                        IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

THE CONNECTORS REALTY                         )
GROUP CORPORATION and DARRYL                  )
WILLIAMS,                                     )
                                              )
       Plaintiffs,                            )
                                              )     No.     19-cv-00743
       v.                                     )
                                              )     Honorable Charles P. Kocoras
STATE FARM FIRE & CASUALTY                    )     Magistrate Young B. Kim
COMPANY,                                      )
                                              )
       Defendant.                             )
                                              )

                     MOTION TO FILE UNDER SEAL DOCUMENT NO. 207

       Plaintiffs, THE CONNECTORS REALTY GROUP CORPORATION and DARRYL

WILLIAMS (collectively “Plaintiffs”), by their attorney, KENNETH ANSPACH, pursuant to

L.R. 26.2 and the Confidentiality Order dated April 29, 2022 (the "4/29/22 Order"), hereby move

this Court to seal Document No. 207 titled Objections to Portions of Magistrate's 9/9/22 Order.

Pursuant to L.R. 26.2 a redacted public version of Objections to Portions of Magistrate's 9/9/22

Order is being filed of even date herewith.

       WHEREFORE, upon the above and foregoing, Plaintiffs request that this motion be

granted.

                                                    Plaintiffs,
                                                    THE CONNECTORS REALTY GROUP
                                                    CORPORATION and DARRYL
                                                    WILLIAMS,


                                                    By: /s/ Kenneth Anspach
                                                             their attorney
  Case: 1:19-cv-00743 Document #: 211 Filed: 09/27/22 Page 2 of 2 PageID #:3254




KENNETH ANSPACH, ESQ.
ANSPACH LAW OFFICE
111 West Washington Street
Chicago, Illinois 60602
(312) 407-7888
ken@anspachlawoffice.com




                                       2
